                                                                              Case 1-20-42637-nhl    Doc 56   Filed 09/09/20   Entered 09/09/20 08:29:40




                                                                                     OTHER MONTHLY GOVT
                                                PAYMENT         MONTHLY   MONTHLY                           MONTHLY CLIENT CONTRIBUTION    Total Paid -                                              TOTAL
   ID       SUBSIDY PROGRAM   LEASE START                                           ASSISTANCE PAID VIA DSS                                               Total Paid -OGMA LL Bonus Unit Hold               Notes
                                               STRUCTURE         RENT     SUBSIDY     (OGMA) (AT MOVE IN)
                                                                                                                    (AT MOVE IN)          Rent Subsidy                                             PAYMENTS
Client 1    CityFHEPS         01-MAY-2020   12 Months Upfront    $1,580     $938           $400                      $242                  $11,974.20         $600.00      $4,300.00   $1,580.00    $18,454.20
Client 2    CityFHEPS         01-MAY-2020   12 Months Upfront    $1,580     $797            $0                       $783                  $11,188.68          $0.00       $4,300.00   $1,580.00    $17,068.68
Client 3    CityFHEPS         01-MAY-2020   12 Months Upfront    $2,040    $1,539          $501                       $0                   $19,216.00         $726.00      $4,300.00   $2,040.00    $26,282.00 OGMA change to $450
Client 4    FHEPS             01-MAY-2020   4 Months Upfront     $1,580     $578           $277                      $725                   $3,304.00         $969.50      $4,300.00   $1,580.00    $10,153.50
Client 5    CityFHEPS         01-MAY-2020   12 Months Upfront    $1,580    $1,180          $400                       $0                   $18,279.33        $1,200.00     $4,300.00   $1,580.00    $25,359.33
Client 6    CityFHEPS         01-MAY-2020   4 Months Upfront     $1,580     $947           $283                      $350                   $4,137.85         $990.50      $4,300.00   $1,580.00    $11,008.35
Client 7    CityFHEPS         01-MAY-2020   12 Months Upfront    $1,580    $1,180          $400                       $0                   $14,686.67         $400.00      $4,300.00   $1,580.00    $20,966.67
Client 8    FHEPS             01-JUN-2020   4 Months Upfront     $1,580    $1,130          $57                       $393                   $4,970.00        $1,153.50     $4,300.00   $1,580.00    $12,003.50 OGMA change to $450
Client 9    CityFHEPS         01-MAY-2020   4 Months Upfront     $2,040    $1,169           $0                       $871                   $5,545.70          $0.00       $4,300.00   $2,040.00    $11,885.70
Client 10   CityFHEPS         01-JUN-2020   4 Months Upfront     $2,040    $1,089          $400                      $551                   $6,683.47        $2,000.00     $4,300.00   $2,040.00    $15,023.47
Client 11   CityFHEPS         01-MAY-2020   12 Months Upfront    $1,580    $1,130          $450                       $0                   $14,455.33         $450.00      $4,300.00   $1,580.00    $20,785.33
Client 12   CityFHEPS         01-MAY-2020   12 Months Upfront    $1,580    $1,180          $400                       $0                   $15,055.33        $1,800.00     $4,300.00   $1,580.00    $22,735.33
Client 13   FHEPS             01-MAY-2020   4 Months Upfront     $1,580    $1,130          $450                       $0                    $4,520.00        $1,575.00     $4,300.00   $1,580.00    $11,975.00
Client 14   CityFHEPS         01-MAY-2020   12 Months Upfront    $1,580     $886           $277                      $417                  $11,891.67         $277.00      $4,300.00   $1,580.00    $18,048.67
Client 15   FHEPS             01-MAY-2020   4 Months Upfront     $2,040    $1,539          $501                       $0                    $6,657.00        $1,252.50     $4,300.00   $2,040.00    $14,249.50
Client 16   CityFHEPS         01-MAY-2020   4 Months Upfront     $2,040    $1,539          $382                      $119                   $6,275.00         $382.00      $4,300.00   $2,040.00    $12,997.00
Client 17   CityFHEPS         01-MAY-2020   4 Months Upfront     $2,040    $1,304          $501                      $235                   $5,451.30         $501.00      $4,300.00   $2,040.00    $12,292.30
Client 18   CityFHEPS         01-MAY-2020   4 Months Upfront     $1,580     $907            $0                       $673                   $4,513.09          $0.00       $4,300.00   $1,580.00    $10,393.09
Client 19   CityFHEPS         01-MAY-2020   12 Months Upfront    $2,040    $1,516          $524                       $0                   $23,284.00         $524.00      $4,300.00   $2,040.00    $30,148.00
Client 20   CityFHEPS         01-JUN-2020   4 Months Upfront     $1,265    $1,015          $251                       $0                    $4,308.50          $0.00         $0.00       $0.00       $4,308.50
Client 21   FHEPS             01-MAY-2020   4 Months Upfront     $2,040    $1,539          $63                       $438                   $6,657.00          $0.00       $4,300.00   $2,040.00    $12,997.00
Client 22   CityFHEPS         01-MAY-2020   12 Months Upfront    $1,580    $1,130          $450                       $0                   $14,139.33        $1,125.00     $4,300.00   $1,580.00    $21,144.33
Client 23   CityFHEPS         01-MAY-2020   12 Months Upfront    $1,580     $995            $0                       $585                  $13,367.70          $0.00       $4,300.00   $1,580.00    $19,247.70
Client 24   FHEPS             01-MAY-2020   4 Months Upfront     $1,580    $1,180          $400                       $0                    $5,120.00        $1,000.00     $4,300.00   $1,580.00    $12,000.00
Client 25   FHEPS             01-MAY-2020   4 Months Upfront     $1,580    $1,180          $400                       $0                    $5,120.00        $1,000.00     $4,300.00   $1,580.00    $12,000.00
Client 26   CityFHEPS         01-JUN-2020   4 Months Upfront     $2,040    $1,539          $501                       $0                    $7,472.13         $501.00      $4,300.00   $2,040.00    $14,313.13
Client 27   CityFHEPS         01-MAY-2020   4 Months Upfront     $2,040    $1,116          $450                      $474                   $5,414.90         $450.00      $4,300.00   $2,040.00    $12,204.90
Client 28   CityFHEPS         01-MAY-2020   12 Months Upfront    $1,580    $1,180          $400                       $0                   $15,002.67         $400.00      $4,300.00   $1,580.00    $21,282.67
Client 29   CityFHEPS         01-MAY-2020   12 Months Upfront    $1,580    $1,180          $400                       $0                   $14,897.33         $400.00      $4,300.00   $1,580.00    $21,177.33
Client 30   CityFHEPS         01-MAY-2020   12 Months Upfront    $1,580     $911            $0                       $669                  $12,501.18         $348.00      $4,300.00   $1,580.00    $18,729.18 client began receiving OGMA of $232
Client 31   CityFHEPS         01-MAY-2020   4 Months Upfront     $1,265    $1,050          $215                       $0                    $4,537.33         $215.00      $4,300.00   $1,265.00    $10,317.33
                                                                                                                                                             GRAND TOTAL                           $501,551.69
